       Case 4:21-cv-00004-JGZ Document 59 Filed 05/23/22 Page 1 of 2



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 7
 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                  FOR THE DISTRICT OF ARIZONA
10
     Todd Miller, et al.,                                  CV 21-00004-TUC-JGZ
11
                            Plaintiffs,               NOTICE OF SETTLEMENT AND
12                                                     STIPULATION TO VACATE
             vs.                                        LITIGATION DEADLINES
13
14   United States of America,
15                          Defendant.
16
            The parties, by and through their undersigned counsel, hereby notify the Court of
17
     their settlement in this Federal Tort Claims Act, 28 U.S.C. § 2671, et seq. action and
18
     stipulate and request that all deadlines in the Court’s Amended Scheduling Order dated
19
     December 8, 2021 (Doc. 48) be vacated as the parties have reached a settlement of all
20
     claims in this litigation.
21
            RESPECTFULLY SUBMITTED this 23rd day of May, 2022.
22
23          MERCALDO LAW FIRM                              GARY M. RESTAINO
                                                           United States Attorney
24                                                         District of Arizona
25          s/Carlo N. Mercaldo with permission            s/Michael L. Linton
            CARLO N. MERCALDO                              MICHAEL L. LINTON
26          RONALD D. MERCALDO                             Assistant U.S. Attorney
            MARCO B. MERCALDO
27          Attorneys for Plaintiffs
28
       Case 4:21-cv-00004-JGZ Document 59 Filed 05/23/22 Page 2 of 2



                                CERTIFICATE OF SERVICE
 1
           I hereby certify that on May 23, 2022, I electronically transmitted the attached
 2   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
     Notice of Electronic Filing to the following CM/ECF registrants:
 3
     Ronald D. Mercaldo
 4   Marco B. Mercaldo
     Carlo N. Mercaldo
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 7
 8   s/Mary M. Parker
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